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                     EXHIBIT C
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                                                             15973

DATE            PERSON                DESCRIPTION                                                            HOURS       RATE          TOTAL
                                      Draft and revise Plaintiffs' motion to compel discovery from
       3/21/2020 Yotam Barkai         Defendant J. Schoep.                                                            2.2 $   275.00   $       605.00

                                      Draft and revise motion to compel discovery from J. Schoep;
                                      attention to motion to compel discovery from J. Schoep; incorporate
       3/23/2020 Yotam Barkai         various documents into motion to compel discovery from J. Schoep.               2.2 $   275.00   $       605.00
                                      Attention to motion to compel discovery from J. Schoep; revise and
                                      recirculate motion to compel discovery from J. Schoep; review
       3/24/2020 Yotam Barkai         revisions to J. Schoep motion.                                                  0.7 $   275.00   $       192.50
                                      Attention to motion to compel discovery from J. Schoep; revise
                                      motion to compel discovery from J. Schoep; incorporate transcripts,
                                      exhibits, and other documents into motion to compel discovery from
       3/25/2020 Yotam Barkai         J. Schoep.                                                                      1.6 $   275.00   $       440.00
                                      Prepare to file motion to compel discovery from J. Schoep; finalize
                                      motion and prepare exhibits and sealing papers; attention to motion
       3/26/2020 Yotam Barkai         to compel discovery from J. Schoep.                                             0.4 $   275.00   $       110.00
                                      Review cite-check and revisions to J. Schoep motion to compel
       3/26/2020 Yotam Barkai         discovery; attention to J. Schoep motion.                                       0.3 $   275.00   $        82.50
                                      Attention to J. Schoep motion to compel; revise and recirculate
                                      motion to compel discovery from J. Schoep; attention to exhibits to
       3/26/2020 Yotam Barkai         J. Schoep motion to compel discovery.                                           1.8 $   275.00   $       495.00
                                      Attention to motion to compel discovery from J. Schoep; finalize and
                                      file motion to compel discovery from J. Schoep; finalize and file
                                      motion to seal; serve motion to compel discovery and motion to seal
       3/27/2020 Yotam Barkai         on Defendants.                                                                  0.9 $   275.00   $       247.50

        4/2/2020 Yotam Barkai         Attention to reply in support of motion to compel against J. Schoep.            0.6 $   275.00   $       165.00

                                      Review J. Schoep opposition brief to J. Schoep motion to compel;
        4/2/2020 Yotam Barkai         attention to reply in support of J. Schoep motion to compel.                    0.7 $   275.00   $       192.50
                                      Attention to motion to compel against J. Schoep; review draft reply
        4/7/2020 Yotam Barkai         in support of motion to compel discovery from J. Schoep.                        0.4 $   275.00   $       110.00
                                      Attention to reply in support of motion to compel discovery from J.
                                      Schoep; serve reply in support of motion to compel discovery from J.
     4/8/2020 Yotam Barkai            Schoep.                                                                         0.6 $   275.00   $     165.00
    4/15/2020 Yotam Barkai            Attention to motion to compel discovery from J. Schoep.                         0.3 $   275.00   $      82.50
SUBTOTAL                                                                                                             12.7 $   275.00   $   3,492.50
                                      Research and draft reply regarding Schoep motion to compel for J.
        4/2/2020 Katherine Cheng      Phillips                                                                        4.2 $   275.00   $   1,155.00
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                                        Revise Schoep motion to compel reply in accordance with J. Phillips
       4/3/2020 Katherine Cheng         edits                                                                  1.4 $     275.00   $     385.00
                                        Revise reply for Schoep motion to compel in accordance with J.
       4/6/2020 Katherine Cheng         Phillips edits and coordiante exhibit for the same                     1.3 $     275.00   $     357.50
                                        Finalize and coordinate filing of reply regarding Schoep motion to
       4/8/2020 Katherine Cheng         compel                                                                 1.5 $     275.00   $     412.50
                                        Analyze Schoep motion for reconsideration and begin to prepare
      5/28/2020 Katherine Cheng         opposition                                                             0.6 $     275.00   $     165.00

      5/30/2020 Katherine Cheng         Research and draft opposition to Schoep motion for reconsideration     4.6 $     275.00   $    1,265.00
       6/9/2020 Katherine Cheng         Cite check opposition to Schoep motion for reconsideration             1.2 $     275.00   $      330.00

    6/11/2020 Katherine Cheng           Finalize and file opposition to Schoep motion for reconsideration      0.8   $   275.00   $      220.00
SUBTOTAL                                                                                                      15.6   $   275.00   $    4,290.00
    3/23/2020 Jessica Phillips          Edited Schoep motion to compel                                           1   $   450.00   $      450.00
    3/25/2020 Jessica Phillips          Reviewed Schoep motion to compel                                       0.8   $   450.00   $      360.00
                                        Edited Schoep motion to compel; communicated with Y. Barkai re
      3/26/2020 Jessica Phillips        same; reviewed revised Schoep motion to compel                         0.8 $     450.00   $     360.00
                                        Read J. Schoep opposition to motion to compel; reviewed and edited
       4/2/2020 Jessica Phillips        reply to Schoep motion to compel                                        1 $      450.00   $     450.00
                                        Edited Schoep motion to compel reply; reviewed M. Bloch edits to
                                        Schoep motion to compel reply; reviewed revised Schoep motion to
     4/6/2020   Jessica Phillips        compel reply                                                           1.5   $   450.00   $      675.00
     4/8/2020   Jessica Phillips        Attention to filing reply to Schoep NSM                                0.5   $   450.00   $      225.00
    5/27/2020   Jessica Phillips        Read order re Schoep motion to compel                                  0.2   $   450.00   $       90.00
    5/28/2020   Jessica Phillips        Read and reviewed motion for reconsideration from Schoep               1.1   $   450.00   $      495.00
SUBTOTAL                                                                                                       6.9   $   450.00   $    3,105.00
                                        Drafted Motion to Seal Exhibits and a Proposed Order Sealing
      3/26/2020 Josh Hasler             Exhibits relating to upcoming Motion to Compel Schoep                  2.1 $     100.00   $     210.00
                                        Performed cite check of the Motion to Compel Discovery from
      3/26/2020 Josh Hasler             Defendant Schoep                                                       2.1 $     100.00   $     210.00
                                        Worked on the exhibits to the Motion to Compel Discovery from
      3/26/2020 Josh Hasler             Defendant Schoep                                                       0.5 $     100.00   $      50.00
                                        Prepared exhibits to the Reply in Support of Plaintiff's Motion to
     4/6/2020 Josh Hasler               Compel Discovery re Schoep                                               1 $     100.00   $     100.00
SUBTOTAL                                                                                                       5.7 $     100.00   $     570.00

TOTAL                                                                                                         40.9                $   11,457.50
